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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

LISA G. FINCH and DOMINICA C. FINCH as
Co-Administrators of the Estate of Andrew
Thomas Finch, deceased,

                               Plaintiffs,

        vs.                                                    Case No. 18-CV-01018-JWB-ADM

CITY OF WICHITA, KANSAS, et al.;

                               Defendants.

             MEMORANDUM IN SUPPORT OF SUMMARY JUDGMENT

        Defendants submit this memorandum in support of their motion for summary judgment.

        NATURE OF THE CASE. Defendants Benjamin Jonker and Justin Rapp responded with

other WPD officers to a dispatch of a shooting at 1033 W. McCormick in Wichita based on a call

that the caller had shot his dad in the head and that he was holding family members at gunpoint.

Rapp covered the front door of the residence as officers formed a perimeter. Shortly after Rapp

took position, while the perimeter was still being established, Finch walked out onto the porch.

Finch disregarded officer’s commands to show his hands and moved his right hand towards his

waist. Rapp reasonably perceived Finch to be drawing a gun towards officers to the east of him

and fired a single, fatal shot to protect the officers. The officers’ actions were based on their

reasonable belief that they were responding to a call involving a shooting and hostages. Unknown

to the officers at the time, the dispatch was based on a false call.

        STATEMENT OF UNCONTROVERTED FACTS. Defendants present the following

facts taken in the light most favorable to plaintiffs. Defendants reserve the right to controvert these

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facts if trial becomes necessary.

1.      At 6:10 p.m. on December 28, 2017, the downtown City “Badge on the Floor” received a

call and referred the call to 911 emergency dispatchers. The caller hung up and called back

multiple times. (ECF Doc. 158, ¶ 2(a)(11).

2.      At 6:18 p.m., Sedgwick County 911 dispatchers made contact with the caller. The caller

told the 911 dispatchers that he was located at 1033 W. McCormick in Wichita (“the residence”);

that he had shot his father in the head and his father was not breathing; that he was holding his

mother and brother hostage at gun point in a closet; and that he wanted to kill himself and light the

house on fire. Id. at ¶ 2(a)(12).

3.      At 6:19 p.m., dispatchers transmitted alerts by tone to officers that a shooting had occurred.

Forty-two seconds later, a dispatcher radioed over the air that a suspect at 1033 W. McCormick in

Wichita had shot his father in the head, that his father was not breathing, and that he was holding

his mother and brother hostage at gun point in a closet. Id. at ¶ 2(a)(13).

4.      Officers normally respond to calls based on the information received from dispatch, even

if the information is not correct. (DeFoe, 82:17-20; Jonker, 67:16 to 68:3; Rapp, 124:17-21).

5.      As a result of the dispatch on December 28, WPD officers and Sedgwick County Sheriff’s

deputies responded to the scene believing they were responding to a barricaded shooter scenario

with hostages where a male reported shooting his father and holding additional family members at

gunpoint. (ECF Doc. 158, ¶ 2(a)(18); Jonker, 72:15-24; Rapp, 128:5-14, 132:21 to 133:1).

6.      The coordinated police response was understood by the responding officers to establish the

perimeter, investigate the incident, and make contact only after the perimeter was established.

(Rapp, 158:6-24; Fussell, 124:4 to 125:1; Jonker, 42:6-7, 15-19, 128:17-25).

7.      Sedgwick County deputies David Headings and Noah Stephens-Clark, who were part of



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the high risk warrant entry team, responded within a minute or two of the call and were the first

officers on scene. (Headings, 4:13-19, 12:7-21, 22:21 to 24:13; Stephens-Clark, 4:13-17, 8:4-10,

12:22 to 13:1, 14:24 to 15:4). Headings grabbed a ballistic shield and Stephens-Clark was armed

with a rifle. (Headings, 34:21 to 35:9; Stephens-Clark, 22:11-23, 16:4-5).

8.      The deputies parked to the east of the residence and approached the residence from the east

on foot, walking through the yards between the houses and sidewalk as additional officers began

arriving on the west side. (Headings, 25:22 to 26:21; Stephens-Clark, 14:13 to 15:4).

9.      WPD officers Kyle Perry and Chris Ronen also responded from the east and joined

Headings and Stephens-Clark to the east of the residence. (Perry, 4:13-18, 25:1-16, 26:9-19,

30:13-21; Ronen, 4:13-17, 17:13 to 18:16, 19:12-24, 23:18 to 24:8).

10.     Stephens-Clark was closest to the residence, Deputy Headings was to his right, and the

WPD officers filled in behind the deputies. (Stephens-Clark, 17:9-23).

11.     The officers saw officers west of the house, patrol vehicles with lights flashing blocking

traffic on McCormick, and officers to the north of the house. (Perry, 31:12 to 33:1; Headings,

36:20 to 37:14).

12.          WPD Sgt. Benjamin Jonker was driving when dispatch broadcast the shooting call.

(Jonker, 4:13-17, 74:1-12). Jonker asked dispatch about other calls from that address, and the only

prior call was a call of a stroke. (Jonker, 77:22 to 78:13, 80:13-25).

13.     Jonker was the only supervisor he saw when he first arrived so he took charge of the scene.

(Jonker, 85:1-9).

14.     Jonker parked to the southwest of the residence and began to assess how many officers he

had. (Jonker, 90:21 to 91:6, 91:19-23).

15.     WPD officers Justin Rapp and Powell, both SCAT officers, responded and parked on the



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southwest side of the residence. Rapp retrieved his rifle on which he had been trained and is

certified to use at 50 yards. (Powell, 35:3-9; Rapp, 83:14-16, 84:5-12, 85:7-9, 137:11-22, 139:23

to 140:3, 160:20 to 161:5).

16.     Rapp was told by another officer that he could see movement in the upstairs window of the

residence that looked like someone was doing CPR. (Rapp, 205:24 to 206:9).

17.     Jonker quickly realized there were no apparent exits on the west side of the house, and he

knew Gumm and Rapp both had their weapons pointed towards the upper level of the residence

and that Gumm indicated movement was coming from the windows. (Jonker, 92:17 to 93:5).

18.     Jonker commanded Rapp and Powell to follow him to the front of the house. Gumm stayed

as cover on the back of the residence. (Jonker, 93:25 to 95:3; Powell, 35:16-21).

19.     Jonker decided to move to the front of the house because he wanted officers on the front

of the residence. (Jonker, 95:14 to 96:13; Rapp, 145:11-24).

20.     Jonker was checking on the radio whether there were sufficient officers on the perimeter,

and giving instructions on where to block traffic. (Ronen, 26:15 to 27:19; Rapp, 150:21 to 151:14).

Jonker asked the next incoming units to block off McCormick. (Jonker, 99:4-15).

21.     WPD officer Dustin Fussell responded to the scene and pulled his patrol car onto

McCormick to block the eastbound lanes off of Seneca as requested by Jonker. (Fussell, 79:16 to

80:11). Jonker, Rapp, and Powell were running by from the south side of McCormick, so Fussell

followed them and heard Jonker asking dispatch for more information on where the call came

from. (Fussell, 80:18 to 81:8, 101:17 to 102:9).

22.     Jonker told Rapp to be long cover because Rapp had a rifle, at which point Rapp’s duties

were to provide long cover. (Jonker, 101:7 to 102:20).

23.     Jonker did not tell Rapp how to be long cover or to raise his rifle, and he did not give him



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additional commands. (Jonker, 101:7 to 102:12; Rapp, 157:6-24, 160:9-13, 201:9-14).

24.     Based on his years of law enforcement experience, Rapp knew his duties as cover officer

were to look out for the safety of everyone in the general vicinity, including perimeter officers, to

keep watch of the residence, to identify any movement, to alert other officers of movement, and to

assist in identifying any potential threats. (Rapp, 145:25 to 146:5, 146:13-19, 147:5-14).

25.     Rapp positioned himself with an unobstructed view of the residence from across the street,

about 40 yards from the residence. (Jonker, 103:13-17; Rapp, 161:8-12, 187:10-14). Rapp could

see the entire front of the residence with a good view of the front porch, most of the front yard,

and the entire sidewalk. (Rapp, 185:2-22, 200:12-23).

26.     Rapp raised his rifle and pointed it south as he scanned the entire front of the house looking

for movement. (Rapp, 164:21 to 165:15).

27.     Powell was within arm's distance to Rapp's right, and Jonker was little further to Rapp's

right. (Rapp, 162:20 to 163:11).

28.     Rapp understood from Jonker and radio traffic that officers were present on the east and

west sides of the residence. (Rapp, 151:25 to 153:11).

29.     Because there were four officers on the east side, one with a bunker, Perry communicated

to Jonker that they would make a contact team if necessary. (Perry, 39:4-19, 40:5-13).

30.     As soon as Perry relayed they would be the contact team, Finch walked out of the house.

(Perry 42:10-15).

31.     Jonker thought the officers had a decent perimeter in place, but everything happened so

quick that he was still only in the beginning stages of making sure it was complete. (Jonker, 111:12

to 112:4, 129:1-10). When Finch came out, Jonker was still setting up the response to the call and

formulating a plan on how to respond to the incident, which would include the officers east of the



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residence as the takedown team. (Jonker, 105:1-16, 129:11-21).

32.     After Rapp had been in position for about 40 seconds, Finch opened the main door of the

house, pushed the screen door open with his left hand, and stepped out onto the porch. (Rapp,

207:9-16, 210:22 to 211:2).

33.     The only information from dispatch that Rapp could use to compare the suspect to Finch

was that the caller was male. (Rapp, 214:3-8).

34.     Jonker heard someone say "the door's opening" or "he's coming out," and he looked up and

saw Finch standing just outside the main threshold. (Jonker, 136:10-22).

35.     Stephens-Clark turned on the light on his rifle when Finch came onto the porch. (Stephens-

Clark, 48:15-20; Jonker, 133:18 to 134:1).

36.     Jonker commanded "let me see your hands" or "put your hands up." He also heard officers

to the east and other officers giving commands. (Jonker, 141:23 to 142:12).

37.     Jonker wanted to be the primary contact person because he had not yet assigned anyone

else to do it. (Jonker, 112:22 to 113:14, 155:1-11).

38.     Stephens-Clark started giving Finch verbal commands to put his hands up and to step off

the porch. (Stephens-Clark, 27:22 to 28:4; Headings, 45:3 to 46:3).

39.     The officers were giving similar commands and it was clear that they were yelling for Finch

to put his hands up. (Jonker, 142:18 to 143:1; Ronen, 36:12 to 37:6). No commands were

conflicting. (Jonker, 143:22-24; Headings, 81:4-12).

40.     Jonker gave Finch a command to "walk this way." (Jonker, 143:25 to 145:6).

41.     Finch initially complied with the commands and raised his hands to about ear level, but as

quickly as he complied, he stopped complying and dropped both hands back to his waist level.

(Rapp, 225:6-13, 227:5-16).



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42.     Finch looked across the street as if he was squinting, and then he looked at the officers to

the east and put his hands up only part way but quickly put them down. (Ronen, 36:12 to 37:6,

43:23 to 44:10, 48:7-17). Officers again started yelling "police, show me your hands," and Finch

put them back up. (Ronen, 48:7 to 50:7). Finch turned towards the officers to the east, put his

hand down, and then a shot was fired. (Ronen, 50:8-22).

43.     Based on Finch's actions with his hands and his facial expressions—agitated or frustrated—

and turning and lowering his hands, Ronen believed Finch was acting as if he was the shooter.

(Ronen, 43:2-8, 53:4-21). Ronen interpreted Finch's facial expression and movements as sizing

up the officers across the street and to the east and then challenging the officers by lowering his

hands. (Ronen, 55:15 to 57:6).

44.     Ronen thought Finch was reaching for a gun and thought the shot made sense given the

way Finch turned and his hand went down and based on the information the officers knew. (Ronen,

99:23 to 101:5).

45.     Stephens-Clark perceived Finch initially to put his hands up, then lower them and take a

step back. He yelled again to put his hands up. Finch again put up his hands then lowered them

and stepped backward. Stephens-Clark gave the command again, and Finch brought his hands up

but less high and started to bring them back down and step back into the doorway. (Stephens-

Clark, 28:22 to 29:9). At the moment Finch was shot, he had backed into the threshold of the

doorway out of Stephens-Clark's sight. (Stephens-Clark, 31:14-19).

46.     Stephens-Clark did not think Finch was a hostage because most hostages do not go back

into the building where they are being held. He thought Finch was either the shooter or a third-

party. (Stephens-Clark, 46:14 to 47:1).

47.     Perry observed Finch initially raise his hands to about shoulder height, glance around, and



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then drop his hands with one hand reaching across his body towards his waistband with his elbow

and shoulder dipping down. (Perry, 46:25 to 49:10, 65:1-8). Finch's mannerisms, his actions, and

the way he bladed his body would be similar to the way Perry would draw a gun, the way he had

been trained to draw a gun. Perry believed Finch was drawing a weapon. (Perry, 48:4 to 50:2,

59:12-14, 60:6-16).

48.     Based on the situation and the call, Perry perceived Finch’s movements to constitute a

lethal threat, and the only reason Perry did not shoot is because he did not have a safe shot due to

crossfire concerns. (Perry, 67:7-24, 86:11 to 87:4).

49.     Headings observed Finch come out the front door, step forward halfway across the porch,

look north with a few glances either way, and initially put his hands up and then slowly back down.

Someone yelled "hands up" and Finch's hands went up again. Headings observed his hands go up

and down numerous times, and he was slowly stepping backwards to go back inside while still

facing north. (Headings, 49:22 to 50:15; 81:13-21).

50.     Headings then observed Finch reach behind his back towards the small of his back where

individuals sometimes wear firearms as he approached the threshold. As Finch's hand neared the

small of his back, he had broken the threshold enough that Headings could not see what his hands

were doing or whether he raised his arms. (Headings, 50:16 to 51:8, 81:25 to 82:14).

51.     As Finch reached behind his back, Headings perceived a potential threat had presented

itself because he could not tell what Finch was doing, he was reaching towards the small of his

back which is a normal place a handgun could be placed, was not complying with commands, and

based on the information from dispatch. (Headings, 50:16 to 52:8).

52.     Headings was concerned that Finch presented a threat, and because others were in the house

who could be in danger, he moved his finger to the trigger on his gun. (Headings, 85:3-20).



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Headings did not fire because Finch backed out of his sight and because he was concerned about

other people in his line of fire. (Headings, 85:14-25).

53.     Finch was facing north-northeast and appeared to Rapp to be focused on the east officers.

(Rapp, 226:12-20).

54.     When the officers to the east began yelling additional commands at Finch after he put his

hands down, Finch grabbed the right side of his hoodie or sweatshirt, lifted it up and out away

from his body, made a motion like he was grabbing something on his waistband and drawing a

firearm, rolled or dipped his shoulder forward, and put his hand back down on the back half of his

right thigh out of Rapp's view, with the entire movement lasting less than a second. (Rapp, 227:17-

24, 228:21 to 229:16, 230:9-12; Rapp Declaration, ¶ 4).

55.     After Finch put his hand back down, Rapp could not clearly see his right hand and could

only see it moving in the vicinity of Finch's waistband and then go down behind the right leg.

(Rapp, 232:2 to 233:1).

56.     Finch then turned to his right towards the east officers and began raising his right hand in

the direction of the officers. (Rapp, 232:17-19, 235:1-21).

57.     Rapp thought he had a clear view of Finch's hand as it raised. He believed Finch had a gun

in his hand, a belief that turned out to be mistaken. (Rapp, 236:11-25, 238:16-20).

58.     Rapp believed Finch was in the process of raising the gun towards the officers to the east.

(Rapp, 239:6-13).

59.     When Finch first entered the porch, Rapp did not know if Finch was the shooter, but he

thought it possible because he was male. Within 10 seconds, Rapp believed Finch was the suspect

who had called 911 based on the information received from dispatch and Finch's motions and

noncompliance, and Rapp believed Finch was going to use his firearm to fire on police. (Rapp,



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233:2-15, 249:8 to 250:20).

60.     Rapp fired one shot to protect the other officers because he believed Finch presented a

threat of imminent serious injury or death to officers on the east side of the residence. (Rapp,

245:12-16; Rapp Declaration, ¶ 5).

61.     Finch potentially presented a lethal threat to the hostages the officers believed were inside.

(Rapp, 247:5-10).

62.     Rapp did not believe it was possible to wait to see what Finch was going to do with his

hand before shooting, and he did not believe there was time for a verbal warning that lethal force

was going to be used. (Rapp, 256:9-18).

63.     Rapp had to make a decision as to whether Finch had a gun in his hand in a fraction of a

second. (Rapp, 259:23 to 360:10).

64.     Rapp fired when he did because in his experience in firing firearms at the range and his use

of force training, the time it takes for a person such an Finch to raise a firearm and begin to fire

and the officer's brain to register the person has a gun and is firing, the person would be able to

fire 3 to 5 rounds in that amount of time. If Rapp waited to fire, he would have allowed Finch to

fire 3 to 5 bullets at officers. (Rapp, 360:20 to 361:7).

65.     Rapp clearly saw Finch raising his arm toward the other officers, but he did not clearly see

that Finch did not have a gun in his hand. (Rapp, 360:11-16).

66.     Powell’s body camera shows essentially what Powell saw from his location just to Rapp’s

right and shows Finch’s hand going down behind Finch out of Powell’s sight. (Powell, 98:12 to

100:2; Powell’s Axon Camera Video (being filed conventionally as Exhibit K)).

67.     Jonker recalls Finch having his hands down, and then they started coming back up, but not

up in the air. Jonker glanced at officers to the west and then heard the shot. (Jonker, 145:24 to



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146:15). Jonker did not see Finch do anything else because he changed his focus to the west

officers as he began to worry about crossfire. (Jonker, 148:15-21).

68.     Jonker did not give any officer, including Rapp, any instructions on when to shoot or what

to do when Finch came onto the porch. (Jonker, 152:9-20).

69.     From the time Finch stepped onto the porch until the shot was within 10 seconds. (Fussell,

133:12-15; Jonker, 151:2-7; Rapp, 240:8-15).

70.     Once Finch appeared, there was not enough time for the officers to communicate about

who was going to do what or to try a less lethal force. (Rapp, 248:9-17).

71.     Rapp estimated the time from when he arrived at the scene until the shooting happened was

two and a half to three minutes and the time from when he arrived on the north side of the street

to the shooting to be 42 or 43 seconds. (Rapp, 266:17 to 267:4).

72.     The shot occurred less than three minutes after Jonker arrived on scene and within 40

seconds to a minute after he arrived on the north side of the residence. (Jonker, 123:20-25, 124:5-

17, 129:22-25).

73.     Jonker did not request SWAT because the situation happened so quickly.              Before

requesting SWAT, he would make sure a decent perimeter was in place and assess the situation.

He would not request SWAT based solely on information from dispatch. (Jonker, 115:24 to

118:5). If he felt the situation warranted a SWAT call, Jonker could request it but the duty chief

or watch commander would have to make the ultimate decision. (Jonker, 25:19 to 26:3).

74.     Once called, it would take SWAT 45 minutes to an hour to arrive on scene. (Kochenderfer,

80:25 to 81:21).

75.     The initial call to 911 was a false swatting call for which Tyler Barriss has since been

charged and sentenced, but this was unknown to officers at the time. (ECF 158, ¶ 2(a)(14)-(15).



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76.     Plaintiffs’ expert Scott DeFoe acknowledged that when officers arrive on a scene, they set

up a perimeter, form a contact team, and then try to communicate with the suspect after the

perimeter is contained. (DeFoe, 25:15 to 26:5). A SWAT team would have long cover with a rifle

if SWAT set up the perimeter. (DeFoe, 33:2-14). DeFoe agrees that it was appropriate for Jonker

to have Rapp deployed to the north side of the house with a rifle. (DeFoe, 37:11-20).

77.     DeFoe agrees that the situation reported to the officers presented a situation of significant

danger to the occupants of the house and to the officers and that it would be reasonable to not let

Finch back into the house if the officers believed he had hostages. (DeFoe, 36:2-10, 77:3-19,

253:18 to 255:16).

78.     DeFoe's only criticism of Rapp is Rapp's decision to pull the trigger. (DeFoe, 118:20 to

119:6, 119:10-20).

79.     DeFoe criticizes Jonker only for the tactical approach Jonker took. (DeFoe, 68:21 to

69:12). The Finch case is the only case he reviewed where DeFoe is critical of the scene command

and control. (DeFoe, 295:14-21). The Finch case is unique as to the other cases DeFoe reviewed

as none of them involved a barricaded suspect. (DeFoe, 295:9-13).

80.     DeFoe acknowledged that all officers present believed Finch to be the suspect and that a

reasonable officer would perceive an individual who comes to the door and matches the

description, even a limited description of male, and disregards police orders and tries to go back

into the house to be the suspect and not a hostage. (DeFoe, 79:5-19).

81.     The WPD and KBI share responsibility for investigating officer-involved shootings, jointly

participate in witness interviews, and jointly present the case to the district attorney. (Jacobs, 27:8

to 28:24, 56:24 to 57:5, 72:6-25).

82.     When an officer causes death or serious bodily injury, the Sedgwick County District



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Attorney Marc Bennett generally responds to the scene of an officer involved shooting and

observes the initial interviews and watches body camera footage. When the investigation is

complete, Bennett and a charging attorney in the DA’s office confirm the investigation is complete

and review the case for charging decisions. (Bennett, 11:7 to 12:23, 18:6-25).

83.     Bennett reviews all officer fatality shootings to determine whether a crime occurred.

(Bennett, 18:6 to 19:7).

84.     Bennett concluded that he could not establish that Rapp was not engaging in defense of

self or others under Kansas law. (Bennett, 59:6-12).

85.     Every officer-involved shooting is investigated by criminal investigators and reviewed by

the district attorney for objective reasonableness. (DeFoe, 208:1-5).

86.     Lt. Blake Mumma oversees the WPD’s Professional Standards Bureau (“PSB”) which

handles internal and external complaints of officer conduct for conformance to WPD rules,

regulations policies and procedures, and standard operating policies. (Mumma, 7:18 to 8:6).

87.     WPD policy 901 requires PSB investigate all incidents involving the discharge of a firearm.

(Mumma, 39:3 to 40:18, 92:5 to 94:6; Mumma Depo. Exh. 80).

88.     WPD policy 904.01 requires WPD also to perform a criminal investigation whenever an

officer is involved in an action that either could have resulted in serious injury or death or did

result in serious injury or death. (Mumma, 100:6-23; Mumma Depo. Exh. 76).

89.     By policy, the criminal investigation must be completed before the administrative

investigation so that the administrative investigation does not taint, and to ensure the integrity of,

the criminal investigation. (Mumma, 33:22 to 34:18; Ramsay, 62:19 to 64:7). The administrative

detective may open a file and collect information that comes in, but they are not actively involved

in an investigation until the criminal investigation is complete. (Ramsay, 68:22 to 69:5). An



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officer involved shooting criminal investigation is generally expedited, and command staff

generally will have some insight as to whether initially there is a questionable situation before the

administrative investigation begins. (Ramsay, 64:8 to 65:2).

90.     Chief Gordon Ramsay has not reviewed any criminal investigations of officer-involved

shootings where he was concerned that homicide detectives were not objective, and if he did have

concerns, he would investigate further. (Ramsay, 85:2 to 86:2).

91.     The PSB investigation can be based on a review of the criminal investigation, it can include

follow up investigation, or it can include a completely separate investigation. (Mumma, 94:7 to

97:12). When reviewing the criminal investigation, detectives view interviews of witnesses, watch

all of the videos, listen to reports, read transcripts, review all evidence gathered in the criminal

investigation, and do whatever follow-up deemed necessary. (Mumma, 96:18 to 97:12, 101:6-20;

Real, 12:10 to 14:2). The relevant information has generally been gathered during the criminal

investigation, and there is no need to duplicate those efforts unless additional investigation is

required. (Mumma, 43:4 to 44:5; Ramsay, 87:24 to 89:19).

92.     The PSB investigation will include analysis of any policy that WPD command staff or PSB

detectives reasonably believe was implicated. (Mumma, 142:6 to 143:1).

93.     Rapp was aware before December 28, 2017 that the WPD investigates and reviews all

incidents in which an officer employs lethal force and that the DA reviews all incidents of use of

lethal force by a Wichita police officer to evaluate whether to file criminal charges. He understood

that the WPD would impose discipline, up to and including termination, if an officer used

unnecessary or excessive force. (Rapp Declaration, ¶ 8).

94.          Rapp’s split-second decision to shoot was not caused or affected by any belief that the

WPD would not hold him accountable for violations of policy or training. He understood that the



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WPD disciplines officers who use unreasonable force. (Rapp Declaration, ¶ 9).

95.       In December, 2017, Jonker understood that any officer involved shooting would be

investigated and reviewed both criminally and administratively and that officers could be

prosecuted criminally and disciplined internally for unlawful actions or violations of training or

policy. (Jonker Declaration, ¶ 4).

96.       Jonker did not take any action or fail to take any action on December 28, 2017 because of

any belief or understanding that his conduct would not be investigated and reviewed or any

perception that the WPD would not discipline him or other officers for unlawful conduct or

violations of policy or training. He did not have any such perception. (Jonker Declaration, ¶ 5).

97.       Plaintiff’s expert, DeFoe, acknowledged that WPD policy requires all officer-involved

shootings be investigated, he knows of none that were not investigated, and he is not critical of the

fact that PSB detectives identify areas of concern but any discipline comes from command staff.

That arrangement is consistent with his law enforcement experience also. (DeFoe, 240:21 to

241:5, 241:21 to 242:7). There is no recognized standard requiring independent oversight of a

police department and no national standard that requires a separate investigation by PSB. (DeFoe,

208:6-16, 242:14-16).

98.       DeFoe acknowledged that several WPD officers involved in use of force situations have

been disciplined. (DeFoe, 198:15 to 199:6, 217:1-7).

99.       DeFoe acknowledges that the WPD utilizes an early intervention system which requires

review of all uses of force by an officer if a threshold is met in a set period of time. His only

criticism of this system is no audit is made to ensure the officers accurately report uses of force,

but he knows of no instances of any officer failing to file a use of force report. (DeFoe, 255:17 to

258:7).



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                                 STATEMENT OF THE ISSUES

        Defendants are entitled to summary judgment (1) because Rapp used objectively

reasonable force that was justified under the circumstances and did not violate any clearly

established right, (2) the supervisory liability claim fails, and (3) the Monell claim fails.

                              ARGUMENTS AND AUTHORITIES

        Standard on Summary Judgment. Summary judgment is appropriate when “the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a). “An issue is ‘genuine’ if there is sufficient evidence on

each side so that a rational trier of fact could resolve the issue either way.” Adler v. Wal–Mart

Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998). “An issue of fact is ‘material’ if under the

substantive law it is essential to the proper disposition of the claim.” Id. Put differently, “[t]he

question ... is whether the evidence presents a sufficient disagreement to require submission to a

jury or whether it is so one-sided that one party must prevail as a matter of law.” Shero v. City of

Grove, 510 F.3d 1196, 1200 (10th Cir. 2007) (quotation omitted). Courts review summary

judgment based on qualified immunity differently than other summary judgment cases. “When a

defendant asserts qualified immunity at summary judgment, the burden shifts to the plaintiff to

show that: (1) the defendant violated a constitutional right and (2) the constitutional right was

clearly established.” Martinez v. Beggs, 563 F.3d 1082, 1088 (10th Cir. 2009). Further, when

qualified immunity is at issue, the court “considers only the facts that were knowable to the

defendant officers.” White v. Pauly, __ U.S. __, 137 S.Ct. 548, 550 (2017) (citing Kingsley v.

Hendrickson, 576 U.S. __, 135 S.Ct. 2466, 2474 (2015)).

        Qualified Immunity Standards. Qualified immunity protects government officials “from

liability for civil damages insofar as their conduct does not violate clearly established statutory or



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constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982). The protection of qualified immunity applies regardless of whether the

government official’s error is “a mistake of law, a mistake of fact, or a mistake based on mixed

questions of law and fact.” Groh v. Ramirez, 540 U.S. 551, 567 (2004). Qualified immunity is

“an immunity from suit rather than a mere defense to liability,” and it is “lost if a case is

erroneously permitted to go to trial.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Because it is

“the norm” in private actions against public officials, officials enjoy a presumption of immunity

when the defense of qualified immunity is raised. Lewis v. Tripp, 604 F.3d 1221, 1225 (10th Cir.

2010); see Kerns v. Bader, 663 F.3d 1173, 1180 (10th Cir. 2011).

        A plaintiff overcomes this presumption of immunity “only by carrying the heavy burden

of showing both that (1) the defendant-officer in question violated one of his constitutional rights,

and (2) the infringed right at issue was clearly established at the time of the allegedly unlawful

activity such that ‘every reasonable official would have understood that what he was doing’

violated the law.” Kerns, 663 F.3d at 1180 (quoting Ashcroft v. al–Kidd, 563 U.S. 731 (2011)).

“Failure on either qualified immunity element is fatal to the plaintiff’s cause.” Id. The court has

discretion to decide “which of the two prongs of the qualified immunity analysis should be

addressed first in light of the circumstances in the particular case at hand.” Pearson v. Callahan,

555 U.S. 223, 236 (2009).

        Provided officers act reasonably in deciding to use deadly force, qualified immunity applies

even if the officers were mistaken on the need to use such force. E.g. Thomson v. Salt Lake County,

584 F.3d 1304, 1319 (10th Cir. 2009) (noting that a reasonable but mistaken belief regarding the

need to use deadly force justifies the use of such deadly force); Thomas v. Durastanti, 607 F.3d

655, 666 (10th Cir. 2010) (officer’s act of shooting at vehicle reasonable, even if mistaken) (citing



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Pearson v. Callahan, 555 U.S. 223, 231 (2009) and Saucier v. Katz, 533 U.S. 194, 206–07 (2009)).

Qualified immunity “gives government officials breathing room to make reasonable but mistaken

judgments by protecting all but the plainly incompetent or those who knowingly violate the law.”

City and County of San Francisco, Calif. v. Sheehan, __ U.S. __, 135 S. Ct. 1765, 1774 (2015)

(internal quotations omitted).

        “A clearly established right is one that is sufficiently clear that every reasonable official

would have understood that what he is doing violates that right.” Mullenix v. Luna, __ U.S. __,

136 S. Ct. 305, 308 (2015) (quotation omitted). To be clearly established, existing caselaw must

place a constitutional question beyond debate. Id.; see also Pauly v. White, 874 F.3d 1197, 1222

(10th Cir. 2017) (requiring a United States Supreme Court or Tenth Circuit decision on point). The

right cannot be defined at high levels of generality, but instead the focus is on “whether the

violative nature of particular conduct is clearly established.” Mullenix, 136 S. Ct. at 308 (internal

emphasis removed) (quoting Ashcroft v. al–Kidd, 563 U.S. 731, 741, 131 S. Ct. 2074 (2011)). The

contours of a right must be sufficiently clear so that every “reasonable official would have

understood that what he is doing violates that right.” al-Kidd, 563 U.S. at 741 (quotations omitted).

This is because qualified immunity protects “all but the plainly incompetent or those who

knowingly violate the law.” Mullenix, 136 S. Ct. at 308 (quotation omitted).

A. Rapp Used Objectively Reasonable Force that Was Justified Under the Circumstances.

        Fourth Amendment excessive force claims are subject to an objective reasonableness

standard as judged by the perspective of a reasonable officer on the scene and not with the 20/20

vision of hindsight. Graham v. Connor, 490 U.S. 386, 396-97 (1989). “Because ‘police officers

are often forced to make split-second judgments—in circumstances that are tense, uncertain, and

rapidly evolving—about the amount of force that is necessary in a particular situation,’ the



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reasonableness of the officer's belief as to the appropriate level of force should be judged from that

on-scene perspective.” Saucier v. Katz, 533 U.S. 194, 205 (2001) (quoting Graham, 490 U.S. at

397). Objective reasonableness is based on the totality of the circumstances, and deference is

given to the judgment of reasonable officers on the scene. Id. A plaintiff is required to establish

that the force used was objectively unreasonable to establish a constitutional violation. Estate of

Larson ex rel. Sturdivan v. Murr, 511 F.3d 1255, 1259 (10th Cir. 2008). The use of deadly force

is not unlawful if a reasonable officer would have had probable cause to believe that there was a

threat of serious physical harm to himself or others. Tennessee v. Garner, 471 U.S. 1, 11 (1985);

Thomas v. Durastanti, 607 F.3d 655, 664 (10th Cir. 2010).

        The officers responded to a dispatch involving an active, barricaded shooter who reportedly

had killed one individual and was holding at least two others hostage. Officers relied on their

training and began forming a perimeter to contain the shooter. Once on scene, Rapp learned that

another officer saw movement from a window that resembled CPR, tending to confirm the initial

dispatch. Jonker ordered Rapp to provide long cover, a reasonable precaution given the nature of

the call. When Finch came onto the porch, he initially complied with officers’ commands to raise

his hands, but then he changed course and lowered his hands behind him. “An individual’s failure

to comply with an officer’s commands is relevant to determining the degree of threat posed by that

individual.”   Cordova v. City of Albuquerque, 816 F.3d 645, 660 (10th Cir. 2016) (citing

Thompson, 584 F.3d at 1314).

        Rapp perceived Finch to stop complying, lower his hands, look at the officers to the east,

turn his body and reach to the small of his back, and start to raise his right arm towards the officers

to the east. Rapp reasonably believed that Finch was reaching for a weapon based on his

movements towards his waistline, a place where guns are commonly carried. Perry and Ronen



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also believed Finch was reaching for a gun based on his noncompliance and his movements.

Powell’s bodycam video from near Rapp’s location corroborates the officers’ perception that Finch

lowered his hand towards his waist and then began to raise it. Rapp was forced to make a split-

second decision as to whether Finch had a weapon in his hand. Based on his training and

experience, he knew if he waited, Finch would be able to fire 3 to 5 shots at the officers. The

constitution does not require Rapp to wait until a gun is pointed at officers “before taking self-

protective action; by then, it is often ... too late to take safety precautions.” Estate of Larsen ex

rel. Sturdivan v. Murr, 511 F.3d 1255, 1260 (10th Cir. 2008) (internal quotation omitted. Rapp

reasonably believed Finch was armed with a gun, and Finch’s actions and defiance of police

commands necessitated immediate reaction.

        That officers ultimately learned Finch was unarmed does not control the outcome. Blossom

v. Yarbrough, 429 F.3d 963, 967-68 (10th Cir. 2005) (“We have previously rejected the argument

that only a suspect armed with a deadly weapon poses a physical threat sufficient to justify use of

deadly force.”); see also Milstead v. Kibler, 243 F.3d 157, 165 (4th Cir. 2001) (“a mistaken

understanding of the facts that is reasonable under the circumstances can render a seizure

reasonable under the 4th Amendment”). An officer who reasonably believes that the suspect

presents an imminent danger of death or serious injury to the officer or others does not transgress

the 4th Amendment rights of the suspect merely because the officer ultimately is determined to be

mistaken. In Billingsley v. City of Omaha, 277 F.3d 990, 995 (8th Cir. 2002), the court held an

officer did not violate an unarmed suspects rights by shooting him because, even though unarmed,

“a police officer can still employ deadly force if objectively reasonable.”

        Further, the jury could properly draw the inference of an immediate threat of death
        or serious bodily harm to Officer Pfeffer from his inability to observe Billingsley’s
        hand and his shoulder movement. [Cites omitted] Therefore, probable cause for
        the use of deadly force is satisfied by the immediate threat of death or serious bodily

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        harm, as observed through the Fourth Amendment prism of objective
        reasonableness. Id.

See also Reece v. Anderson, 926 F.2d 494 (5th Cir. 1991) (officer justified in using deadly force

where, after pursuing bank robbery suspects in high speed chase, passenger repeatedly reached

below officer’s line of sight in defiance of orders to raise his hands and officer could reasonably

have believed that passenger had retrieved a gun and was about to shoot); Loch v. City of Litchfield,

837 F. Supp. 2d 1032 (D. Minn. 2011) aff’d 689 F.3d 961 (8th Cir. 2012) (officer’s use of deadly

force did not violate suspect’s rights when officer had been told that suspect had a gun, suspect

failed to follow orders to get on the ground, was agitated and in the moment before he shot, officer

saw suspect move his hand toward a black bulge on his hip); Wyche v. City of Franklinton, 837

F.Supp. 137 (E.D.N.C 1993).

        In Thomas v. Durastanti, 607 F.3d 655, 666 (10th Cir. 2010), the Tenth Circuit noted that

the officer’s “reasonable perceptions are what matters, he had mere seconds to react, and his

actions in firing the first couple of shots were reasonable, even if mistaken. An officer may be

found to have acted reasonably even if he has a mistaken belief as to the facts establishing the

existence of exigent circumstances.” Id. at 666 (citations omitted). The Tenth Circuit has noted

that “a reasonable but mistaken belief that the suspect is likely to fight back justifies using more

force than is actually needed.” Thomson v. Salt Lake City, 584 F.3d 1304, 1315 (10th Cir. 2009).

And in Estate of Larson, the court noted that where police officers were “forced to make split

second judgments,” even if the officers’ “assessment of their threat was mistaken, it was not

objectively unreasonable.” 511 F.3d at 1260-61.

        Similarly, in Thompson v. Hubbard, 257 F.3d 896 (8th Cir. 2001), an officer responded to

an armed robbery call that reported shots fired. The suspects had fled and the officer approached

a man (Thompson) who fit the description of one of the suspects and was in an area where the

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officer believed the suspects might be. Thompson fled on foot, stopped, “looked over his shoulder

at [the officer], and moved his arms as though reaching for a weapon at waist level.” Id. at 898.

Thompson’s back remained towards the officer, who could not see Thompson’s hands. The officer

“yelled, ‘stop,’ and when Thompson’s arms continued to move, he fired a single shot into

Thompson’s back,” killing him. Id. No weapon was found on Thompson’s body. The court

concluded that the officer had probable cause to believe that the fleeing suspect posed a threat of

serious physical harm, and therefore the use of deadly force was objectively reasonable. The court

noted that “[a]n officer is not constitutionally required to wait until he sets eyes upon the weapon

before employing deadly force to protect himself against a fleeing suspect who turns and moves

as though to draw a gun.” Id.

        Rapp was forced to make a split-second decision under tense, quickly changing

circumstances. While Finch ultimately was not armed, Rapp’s split-second decision to use force

while performing his job duties to provide cover to other officers in a dangerous situation is not

constitutionally unreasonable. Based on the information he had from dispatch, Rapp reasonably

believed that Finch’s noncompliance and his body movements consistent with drawing a firearm

created a lethal threat to the officers to the east of the residence. Indeed, Perry had the same

perception as Rapp that Finch presented a lethal threat but did not shoot because of crossfire

concerns.    Rapp’s decision to eliminate the threat was objectively reasonable under the

circumstances. Rapp did not violate Finch’s 4th Amendment rights.

        While plaintiffs complain that Rapp did not shoot to prevent Finch from re-entering the

home, his subjective motivation is immaterial—only the objective reasonableness of the use of

force based on the facts and information reasonably knowable to the defendant officers. Graham,

490 U.S. at 397. Based on the information the responding officers had, it was objectively



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reasonable to shoot Finch to prevent him from going back into the house with the hostages.

Plaintiffs’ own expert agreed an objectively reasonable officer would shoot Finch if the officer

reasonably believed hostages were inside. Regardless of whether Finch was reaching for a gun or

trying to reenter the home, Rapp’s use of force was objectively reasonable to protect against the

threat of death or serious bodily injury to other officers or to the hostages in the house.

          Even if the use of force was objectively unreasonable, no United States Supreme Court or

Tenth Circuit decisions clearly establish that the use of force in this situation was unconstitutional.

See Pauly, 874 F.3d at 1222. No case squarely governs this situation with the severity of the initial

call, Finch’s noncompliance and body movements in the few seconds after he emerged on the

porch, the significant potential for deadly force by Finch against officers and potential hostages,

and the necessity of reacting in a split-second. Plaintiffs cannot overcome either element of

qualified immunity regarding the use of force against Finch, and their § 1983 claims against Rapp

fails.

B. The Supervisory Claim Against Jonker Fails.

          Plaintiffs assert a § 1983 supervisory claim against Jonker. Jonker did not use any force.

Supervisory liability requires “a deliberate, intentional act by [Jonker] to violate constitutional

rights.” Serna v. Colorado Dept. of Corrections, 455 F.3d 1146, 1151 (10th Cir. 2006) (quotation

omitted). Simply being in charge fails to satisfy the burden. Instead, plaintiffs must establish that

Jonker was personally “involved in the constitutional violation” with a “sufficient causal

connection” between him and the constitutional violation. Id. (quoting Rios v. City of Del Rio, 444

F.3d 417, 425 (5th Cir.2006)). “In this context, the supervisor's state of mind is a critical bridge

between the conduct of a subordinate and his own behavior. Because ‘mere negligence’ is not

enough to hold a supervisor liable under § 1983, a plaintiff must establish that the supervisor acted



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knowingly or with “deliberate indifference” that a constitutional violation would occur.” Id. at

1151-52 (citations omitted).

        To prevail, plaintiffs must establish that (1) Rapp applied excessive force, that (2) an

“affirmative link” exists between Jonker and Rapp’s decision to use force (a) by actively

participating in or acquiescing to Rapp’s use of force, and (b) that he was deliberately indifferent

to its application. Id. at 1152. Plaintiffs can meet none of these elements.

        First, Rapp did not apply constitutionally excessive force. See Part A, supra. Second, no

“affirmative link” exists. Jonker did not “actively participate[] or acquiesce[] in the constitutional

violation.” Holland v. Harrington, 268 F.3d 1179, 1187 (10th Cir. 2001). To meet this hurdle,

there must be evidence of “the supervisor's personal participation, his exercise of control or

direction, or his failure to supervise.” Serna, 455 F.3d at 1152-53 (quotations omitted). “A plaintiff

may also establish an affirmative link where the supervisor ‘tacitly authorized the offending acts.’”

Id. (quoting Wever v. Lincoln County, 388 F.3d 601, 606 (8th Cir.2004)). “In the end, however,

supervisory liability must be based upon active unconstitutional behavior and more than a mere

right to control employees.” Id. (quotation omitted).

        Jonker did not direct the use of force. Instead, plaintiffs’ expert DeFoe complains about

alleged negligence in Jonker’s overall supervision in failing to have a finalized plan in place at the

time Finch emerged, in failing to communicate more, in failing to direct a single contact person,

in failing to direct which officers would form the contact team (despite those officers notifying

him they would be the contact team), and in locating himself north of the house instead of behind

it. None of these actions establish an affirmative link to unconstitutional conduct. The officers

east of the residence knew they would be the contact team. Jonker’s failure to explicitly direct this

part of the plan has no bearing on Finch’s failure to obey commands. Once Finch came out,



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multiple officers gave consistent commands. Even if DeFoe’s criticisms were justified, they

amount at most to negligence and fail to establish causation for the injury. Jonker did not give

explicit commands to Rapp, he simply gave the reasonable command for Rapp to serve as long

cover. See Chamberlain v. City of White Plains, 986 F. Supp. 2d 363, 394-95 (S.D.N.Y. 2013)

(supervisor telling other officers to provide lethal cover prior to entry into an apartment was not

an order to perform an unlawful act and did not support supervisory liability claim based on

officer’s independent decision to shoot). Plaintiffs cannot establish any unconstitutional behavior

by Jonker that can serve as an affirmative link to any constitutional violation.

        Third, no evidence of deliberate indifference by Jonker exists. See Serna, 455 F.3d at 1154

(“liability of a supervisor under § 1983 must be predicated on the supervisor's deliberate

indifference” because “mere negligence is not enough”); see also Sheehan, 135 S. Ct. at 1777

(quotation omitted) (poor tactics do not establish a constitutional violation).            Deliberate

indifference requires that Jonker “both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.” Id. at 1154-

55. No evidence suggests Jonker was aware that commanding Rapp to serve as long cover would

create a substantial risk that harm exists, and no evidence suggests Jonker drew such an inference.

        In the three minutes that Jonker was on scene before Finch unexpectedly stepped onto the

porch, Jonker was organizing the scene and implementing a plan. Plaintiffs’ criticisms of Jonker

were not a cause of Finch’s death. For example, plaintiffs complain that Jonker had not called out

SWAT, but it is undisputed that SWAT could not have mobilized and arrived in the brief time

between the dispatch and the shot being fired. Plaintiffs’ tactical complaints regarding Jonker’s

personal location on the scene and his failure to have a plan fully in place do not rise even close to

the level of deliberate indifference. See Connick v. Thompson, 563 U.S. 51, 61 (2011) (stating that



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deliberate indifference “is a stringent standard of fault, requiring proof that a municipal actor

disregarded a known or obvious consequence of his action.”). Plaintiffs’ supervisory claim against

Jonker fails.

        Further, qualified immunity applies because no case law clearly establishes that Jonker’s

supervision violated Finch’s constitutional rights. See Pauly, 874 F.3d at 1222.

C. The Monell Claim Fails.

        Plaintiffs assert a claim under § 1983 against the City of Wichita, alleging that the City had

an official policy, practice or custom permitting officers to use deadly force in violation of the

Fourth Amendment. (ECF 158, ¶ 4.a.(iii)). Plaintiffs base this claim on two theories. First, they

allege a custom by the City of excessive lethal force against civilians. Second, they allege

inadequate disciplinary and accountability procedures for officers who use lethal force. Plaintiffs’

premises are based on unsubstantiated violations of policy and manufactured deficiencies in

investigations of uses of force as opposed to violations of the constitution. (ECF 158, ¶ 3(a), p. 7-

11).

        Cities are not liable under § 1983 merely because an officer commits a constitutional tort.

“[I]n other words, a municipality cannot be held liable under § 1983 on a respondeat superior

theory.” Monell v. Dep't of Social Serv., 436 U.S. 658, 691 (1978). A city may only be held liable

under Section 1983 “for its own unconstitutional or illegal policies.” Barney v. Pulsipher, 143

F.3d 1299, 1307 (10th Cir. 1998). Thus, “a municipality is liable only when the official policy [or

unofficial custom] is the moving force behind the injury alleged.” Id. (quoting Bd. of Cnty.

Comm'rs of Bryan Cnty. v. Brown, 520 U.S. 397, 404 (1997)). A plaintiff must identify the

government's policy or custom that caused the injury and show “that the policy was enacted or

maintained with deliberate indifference to an almost inevitable constitutional injury.” Schneider v.



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City of Grand Junction Police Dept., 717 F.3d 760, 769 (10th Cir. 2013). Thus, to establish

liability under § 1983 against a City for the actions of its police officers, plaintiffs must prove that

“(1) An officer committed a constitutional violation and (2) a municipal policy or custom was the

moving force behind the constitutional deprivation that occurred.” Estate of Larson, 511 F.3d at

1259 (citing Jiron v. City of Lakewood, 392 F.3d 410, 419 (10th Cir. 2004)).

        Here, no officer committed a constitutional violation, and the City cannot be liable because

even if the customs, policies, and procedures were unconstitutional, there can be no municipal

liability absent a constitutional violation by the individual officer. E.g. Trigalet v. City of Tulsa,

Oklahoma, 239 F.3d 1150, 1155-56 (10th Cir. 2001); Wilson v. Meeks, 98 F.3d 1247, 1255 (10th

Cir. 1996) (“a municipality may not be held liable where there was no underlying constitutional

violation by any of its officers”). Regardless, plaintiffs cannot establish the other elements

necessary to support their claim.

        Plaintiffs’ allegations and evidence are insufficient to establish the required elements of

municipal liability. Even if Rapp had violated constitutional rights of Finch, plaintiffs’ allegation

that the City had a custom of failing to investigate adequately officer-involved shootings fails to

establish a Monell claim. To establish Monell liability based upon an alleged custom or practice

of failing to investigate or condone the use of excessive force, plaintiffs must prove: “(1) A

continuing, widespread, and persistent pattern of misconduct; (2) deliberate indifference to or tacit

authorization of the conduct by policy-making officials after notice of the conduct; and (3) a

resulting injury to the plaintiff.” Richard v. City of Wichita, Kansas, Case No. 15-1279-EFM,

2016 WL 5341756, at *11 (D. Kan. Sept. 23, 2016) (citing Rost ex rel. K.C. v. Steamboat Springs

RE-2 Sch. Dist., 511 F.3d 1114, 1125 (10th Cir. 2008)). Even if plaintiffs establish such a custom

or practice, plaintiffs must also establish that the alleged Fourth Amendment violations by Rapp



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was directly caused by such an unconstitutional custom, policy or practice. Id. (citing Cordova v.

Aragone, 569 F.3d 1183, 1194 (10th Cir. 2009).

        Plaintiffs allege that the WPD has inadequate disciplinary and accountability procedures

for officers who use lethal force and thereby ratified and permitted officers to engage in patterns

of policy violations and misconduct. However, the continuing, widespread, or persistent pattern

of misconduct requires the misconduct be unconstitutional misconduct. Gates v. Unified School

Dist. No. 449 of Leavenworth County, Kan., 996 F.2d 1035, 1041 (10th 1993); see Mettler v.

Whitledge, 165 F.3d 1197, 1204 (8th Cir. 1999). Plaintiffs allege no unconstitutional misconduct.

Instead, they refer to a number of uses of force against civilians that they allege violated WPD

policies or general police practices. (ECF 158, p. 7). There is no evidence of a widespread pattern

of unconstitutional misconduct by WPD officers.

        Further, the criticisms leveled by plaintiffs fail to establish any causal relationship between

the alleged policy and the shooting of Finch. WPD performs a criminal investigation of all officer-

involved shootings. The KBI is involved in the investigation and provides follow-up as needed.

The results of the investigation are presented to the Sedgwick County DA for charging

determinations, including in the Finch shooting. After the criminal investigation, PSB performs

an investigation that typically involves a review the evidence gathered in the criminal investigation

with any necessary follow-up investigation. Command staff review the PSB report and make

determinations on policy violations and any disciplinary decisions—both practices that plaintiffs’

expert DeFoe agreed were typical. DeFoe acknowledged that several WPD officers involved in

use of force situations have been disciplined.

        No logical inference is permissible that WPD officers, even if they were aware of

inadequate WPD investigations, would have been sufficiently emboldened to violate a suspect’s



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4th Amendment rights even though aware that they would face potential criminal prosecution. “To

establish the causation element, the challenged policy or practice must be ‘closely related to the

violation of the plaintiff's federally protected right.’” Schneider v. City of Grand Junction Police

Dep't, 717 F.3d 760, 770 (10th Cir. 2013); see Richard, 2016 WL 5341756, at *11 (noting that

“even if the City had a custom of not earnestly investigating excessive force cases, there is no

reason to believe that such a custom directly caused the shooting of” the plaintiff).

        No evidence suggests that officers generally were aware of any deficiencies in use of force

investigations. To the contrary, the undisputed declarations of Rapp and Jonker indicates that both

officers were aware prior to December 28, 2017 that WPD would investigate all uses of lethal

force by officers and that officers could be prosecuted criminally or internally, up to and including

termination, for unlawful actions or violations of training or policy. Rapp’s split-second decision

to shoot was not caused or affected by any belief that the WPD would not hold him accountable

for violations of policy or training, and he understood the WPD disciplines officers who use

unreasonable force. Likewise, Jonker did not take any action or fail to take any action on

December 28, 2017 because of any belief or understanding that his conduct would not be

investigated and reviewed or based on any perception that the WPD would not discipline him or

other officers for unlawful conduct or violations of policy or training.

        Plaintiffs’ allegations that deficiencies existed in the criminal investigation of officer

involved shootings are likewise insufficient to establish liability of the City of Wichita. First, an

investigation that occurs after the shooting, cannot cause the shooting. See Cordova v. Arrogone,

569 F.3d 1183, 1194 (10th Cir. 2009) (“basic principles of linear time prevent us from seeing how

conduct that occurs after the alleged violation could have somehow caused that violation.”).

Second, the evidence does not support either the existence of an unconstitutional custom or



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practice of inadequate investigations nor the required deliberate indifference of the city. Chief

Ramsay testified that he had no knowledge of improper criminal investigations and if he had such

knowledge, he would correct the deficiency.           The KBI is involved, the DA reviews all

investigations and Bennett assures himself that the criminal investigation is complete.

        Plaintiffs’ evidence does not show that the City’s “custom was the moving force behind

the constitutional deprivation” or that the City’s custom “must have actually caused” the

constitutional violation. Richard, supra at *11 citing Cordova at 1194. Plaintiffs’ § 1983 claim

against the City should be dismissed with prejudice.

        Conclusion. All claims by plaintiffs should be dismissed with prejudice.

Respectfully submitted,

/s/ Samuel A. Green
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2019, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system which will send a notice of electronic filing to the
following:
        Rick E. Bailey, rbailey@fcse.net; Alexa Van Brunt, a-vanbrunt@law.northwestern.edu;
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I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to the following non-CM/ECF participants: No one.

                                                       /s/ Samuel A. Green
                                                       Samuel A. Green



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